                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )      No.:   3:14-CR-002
                                                  )
 DONNA S. ROBERTS                                 )

                            MEMORANDUM AND ORDER

        This criminal case is before the court on the defendant’s pro se motion for

 sentence reduction [doc. 912]. The defendant asks the court to resentence her pursuant to

 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to the United

 States Sentencing Guidelines Manual (“U.S.S.G.” or “sentencing guidelines”).

 Amendment 782, which became effective on November 1, 2014, revised the guidelines

 applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

 and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

 Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

 effective on November 1, 2014, identified Amendment 782 as retroactive.             See id.,

 amend. 788.

        The United States has responded in opposition to the defendant’s motion [doc.

 956]. The United States argues that the defendant is not eligible for a sentence reduction

 because Amendment 782 has no effect on her statutorily-mandated term of imprisonment.




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 I.    Background

       By judgment dated July 29, 2014, this court sentenced the defendant to a term of

 imprisonment     of   120   months   as   to       Count   One   (conspiracy   to   distribute

 methamphetamine). The statute of conviction required a mandatory sentence of at least

 120 months imprisonment. The defendant’s guideline range became 120 to 135 months

 because the statutory minimum was greater than the bottom of the range otherwise

 applicable in this case. See U.S.S.G. § 5G1.1(b).

 II.   Analysis

       District courts have discretion to reduce the sentence “of a defendant who has

 been sentenced to a term of imprisonment based on a sentencing range that has

 subsequently been lowered by the Sentencing Commission . . . , if such a reduction is

 consistent with applicable policy statements issued by the Sentencing Commission.” 18

 U.S.C. § 3582(c)(2). In the present case, the defendant was not sentenced based on a

 guideline range that has since been lowered by the Sentencing Commission. Instead, her

 guideline range was the lowest possible term of imprisonment allowed by the statute of

 conviction. Amendment 782 does not lower any statutory penalties.

       Further, a sentence reduction under § 3582(c) for this defendant would not be

 consistent with the Sentencing Commission’s applicable policy statements. Application

 Note 1(A) to guideline 1B1.10 explains in relevant part that




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        a reduction in the defendant’s term of imprisonment is not authorized under
        18 U.S.C. § 3582(c)(2) and is not consistent with this policy statement if . .
        . [a guideline amendment] is applicable to the defendant but the amendment
        does not have the effect of lowering the defendant’s applicable guideline
        range because of the operation of another guideline or statutory provision
        (e.g., a statutory mandatory minimum term of imprisonment).

        The defendant’s guideline range has not been lowered as a result of Amendment

 782’s revision of the sentencing guidelines’ § 2D1.1 Drug Quantity Table. Because the

 defendant’s sentence was based on a statutory mandatory minimum rather than on

 U.S.S.G. § 2D1.1, she is ineligible for an Amendment 782 sentence reduction. See, e.g.,

 United States v. McPherson, 629 F.3d 609, 611-12 (6th Cir. 2011).

 III.   Conclusion

        For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

 912] is DENIED. To the extent that the defendant’s motion requests the appointment of

 counsel, that request is denied as well because the defendant is plainly not entitled to

 relief under Amendment 782.

               IT IS SO ORDERED.

                                                         ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge




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